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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF ALASKA

AURORA HOSPITALITY, LLC

Plaintiff
Vv.

ALEXANDER DOO WOOK KIM,

Defendant.

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Case No. 3:19-cv-00173-SLG

MOTION TO DISMISS PURSUANT TO
FRCP 41(a)(1)(A)()

COMES NOW plaintiff AURORA HOSPITALITY, LLC, by and through counsel, and

moves to dismiss the above-captioned case pursuant to Federal Rule of Civil Procedure

4l(a)(1(A)@).

DATED this 26th day of September, 2019.

I HEREBY CERTIFY that on
September 26, 2019, a copy

of the foregoing was served
electronically on:

Michael B. Baylous, Lane Powell LLC

s/John C. Pharr

Case 3:19-cv-00173-SLG

LAW OFFICES OF JOHN C. PHARR, P.C.
Attomeys for plaintiff

By: /s/ John C. Pharr

John C. Pharr, ABA 8211140

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John C. Pharr

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA
AURORA HOSPITALITY, LLC ) Case No. 3:19-cv-00173-SLG
Plaintiff ORDER ON MOTION TO DISMISS
v. PURSUANT TO FRCP 41(a)(1)(A)(i)

ALEXANDER DOO WOOK KIM,

Defendant.

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Plaintiff AURORA HOSPITALITY, LLC, having moved to dismiss the above-captioned
case pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)Q@),
IT IS HEREBY ORDERED that this case is DISMISSED on motion of the plaintiff.

DATED this day of _ , 2019.

 

Hon. Sharon L. Gleason
Judge of the Federal District Court, D. Alaska

I HEREBY CERTIFY that on
September 26, 2019, a copy

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electronically on:

Michael B. Baylous, Lane Powell LLC

s/John C. Pharr

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